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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

 WILMINGTON SAVINGS FUND                                §
 SOCIETY, FSB AS TRUSTEE OF WV                          §
 2017-1 GRANTOR TRUST,                                  §
                                                        §
      Plaintiff,                                        §      Civil Action No. 4:24-cv-784
                                                        §
 v.                                                     §
                                                        §
 WOODROW WILSON JACKSON,                                §
                                                        §
      Defendant.                                        §


                                            STATUS REPORT

        Plaintiff Wilmington Savings Fund Society, FSB as Trustee of WV 2017-1 Grantor Trust

(“Plaintiff”) files this Status Report, and respectfully shows as follows:

                                                      I.

        1.         Plaintiff brought suit in this Court on March 4, 2024, against Defendant Woodrow

Wilson Jackson (“Defendants”) to obtain an order allowing foreclosure of Plaintiff’s security

interest on the real property and improvements commonly known as 2108 Manning Way, Bryan,

Texas 77803 (the “Property”). (ECF Doc. No. 1.)

        2.         On May 24, 2024, the Court entered an Order to abate the action until ongoing loss

mitigation efforts for the Property have concluded.

        3.         Foreclosure of the property subject to this suit is still currently on hold as the subject

loan is undergoing active loss mitigation. As a result, Plaintiff is prohibited from further

prosecuting this case at this time under CFPB regulations. See 12 CFR §124.41(g).

        4.         Plaintiff therefore respectfully requests that this suit and all upcoming deadlines


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and settings continue abatement for an additional sixty (60) day period, in order to allow the loss

mitigation process to be completed.

       WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that this Court continue

abatement of this suit and all upcoming settings, deadlines and rulings for at least sixty (60) days

and for such other relief to which it may be justly entitled.



                                                   Respectfully submitted,

                                                   By: /s/ John M. Gregory
                                                      JOHN M. GREGORY
                                                      Texas Bar No. 24138787
                                                      jgregory@mwzmlaw.com

                                                   MACKIE WOLF ZIENTZ & MANN, P.C.
                                                   14160 North Dallas Parkway, Suite 900
                                                   Dallas, Texas 75254
                                                   Telephone: 214-635-2650
                                                   Facsimile: 214-635-2686

                                                   ATTORNEYS FOR PLAINTIFF




                                 CERTIFICATE OF SERVICE

       The undersigned certifies that as August 1, 2024, no other parties have filed an answer or
otherwise appeared in this matter.



                                                       /s/ John M. Gregory
                                                       JOHN M. GREGORY




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